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            EXHIBIT O
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18

19                                   UNITED STATES DISTRICT COURT

20                              NORTHERN DISTRICT OF CALIFORNIA

21                                      SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                                  Case No. CV 10-03561 WHA
23                      Plaintiff,                         PLAINTIFF’S RESPONSES AND
                                                           OBJECTIONS TO DEFENDANT
24          v.                                             GOOGLE INC.’S FIRST SET OF
                                                           INTERROGATORIES TO
25   GOOGLE INC.                                           PLAINTIFF ORACLE AMERICA,
                                                           INC. (NOS. 1-10)
26                      Defendant.
                                                           Dept.: Courtroom 9, 19th Floor
27                                                         Judge: Honorable William H. Alsup
28
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 1   damages corresponding to Google’s willful infringement—is in Google’s possession, timely
 2   production of information and documents relating to damages by Google will be necessary in
 3   order for Oracle’s experts to be able to provide detailed quantifications of Oracle’s damages in
 4   their initial reports.
 5   INTERROGATORY NO. 2:
 6           State in detail Oracle’s factual bases for its claim of direct copyright infringement,
 7   specifically including a comparison of each element of Java software, including without
 8   limitation any class libraries, API packages, method names, class names, definitions,
 9   organizational elements, parameters, structural elements, and documentation, to the
10   corresponding Android element, as Oracle did in Exhibit J to its Amended Complaint.
11   RESPONSE TO INTERROGATORY NO. 2:
12           Oracle owns many copyrights in the code, documentation, specifications, libraries, and
13   other materials that comprise the Java platform. As new versions of the Java platform were
14   developed and the materials revised, the copyrights were registered with the United States
15   Copyright Office, including TX0004416302; TX0004326014; TX0004616088; TX0005271787;
16   TX0005316757; TX0005316758; TX0005359984; TX0005359985; TX0005359986;
17   TX0005359987; TX0005392885; TX0006066538; TX0006143306; and TX0006196514. Google
18   has infringed Oracle’s copyrights.
19           Android Application Programmer Interface (API) package specifications (whether or not
20   from the Apache Harmony project) that correspond to Oracle’s Java API specifications are
21   unauthorized derivative work, and Google’s unauthorized copying and distribution of them is
22   copyright infringement. A comparison of Android’s API package specifications (available at
23   http://developer.android.com/reference/packages.html) with Oracle’s copyrighted Java API
24   package specifications (for example, available at
25   http://download.oracle.com/javase/1.5.0/docs/api/,
26   http://download.oracle.com/javase/1.4.2/docs/api, and
27

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 1   http://download.oracle.com/javase/1.3/docs/api/)8 demonstrates that the following Android
 2   package specifications are derived from or substantially similar to Oracle’s copyrighted Java API
 3   package specifications:
 4                1. java.awt.font
 5                2. java.beans
 6                3. java.io
 7                4. java.lang
 8                5. java.lang.annotation
 9                6. java.lang.ref
10                7. java.lang.reflect
11                8. java.math
12                9. java.net
13                10. java.nio
14                11. java.nio.channels
15                12. java.nio.channels.spi
16                13. java.nio.charset
17                14. java.nio.charset.spi
18                15. java.security
19                16. java.security.acl
20                17. java.security.cert
21                18. java.security.interfaces
22                19. java.security.spec
23                20. java.sql
24                21. java.text
25                22. java.util
26
     8
       Oracle’s copyright infringement claim applies to all versions of Oracle’s Java API specifications and reference
27   implementations from which Android derives, which include J2SE 1.2, J2SE 1.3, J2SE 1.4, and J2SE 5.0.

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 1              23. java.util.concurrent
 2              24. java.util.concurrent.atomic
 3              25. java.util.concurrent.locks
 4              26. java.util.jar
 5              27. java.util.logging
 6              28. java.util.prefs
 7              29. java.util.regex
 8              30. java.util.zip
 9              31. javax.crypto
10              32. javax.crypto.interfaces
11              33. javax.crypto.spec
12              34. javax.net
13              35. javax.net.ssl
14              36. javax.security.auth
15              37. javax.security.auth.callback
16              38. javax.security.auth.login
17              39. javax.security.auth.x500
18              40. javax.security.cert
19              41. javax.sql
20              42. javax.xml
21              43. javax.xml.datatype
22              44. javax.xml.namespace
23              45. javax.xml.parsers
24              46. javax.xml.transform
25              47. javax.xml.transform.dom
26              48. javax.xml.transform.sax
27              49. javax.xml.transform.stream
28              50. javax.xml.validation
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 1                51. javax.xml.xpath
 2   Some Android package API specifications are substantially similar to selected portions of some
 3   of the Oracle Java API package specifications (e.g., java.awt.font, java.beans) while other
 4   Android package API specifications are substantially similar to complete portions of other Oracle
 5   Java API package specifications (e.g., java.io, java.lang, java.net, java.nio, java.security, java.sql,
 6   java.text). Exhibits A-E are illustrative examples.9
 7           The Android source and object code (whether or not from the Apache Harmony project)
 8   that purports to implement Oracle’s Java API specifications is unauthorized derivative work, and
 9   Google’s unauthorized copying and distribution of it is copyright infringement. See, e.g., “What
10   is Android?” (available at http://developer.android.com/guide/basics/what-is-android.html
11   (“Android includes a set of core libraries that provides most of the functionality available in the
12   core libraries of the Java programming language.”)); Package Index (available at
13   http://developer.android.com/reference/packages.html), including those API packages listed
14   above, and subsidiary webpages; and source code and documentation files available in:10
15           •    libcore\security\src\main\java\java\security;
16           •    libcore\security\src\main\java\javax\security\cert;
17           •    libcore\security\src\main\java\org\apache\harmony\security;
18           •    libcore\math\src\main\java\java\math;
19           •    libcore\math\src\main\java\org\apache\harmony\math;
20           •    libcore\luni\src\main\java\java;
21           •    libcore\luni\src\main\java\org\apache\harmony\luni;
22           •    libcore\luni-kernel\src\main\java\java\lang;
23   9
       The illustrative examples are taken from http://download.oracle.com/javase/1.5.0/docs/api/ and
     http://developer.android.com/reference/packages html.
24
     10
        It appears that Google has recently modified the source code currently available through
25   http://android.git kernel.org. Such changes are subject to the discovery Oracle has propounded on Google. In any
     event, the cited source code examples are taken from http://android.git.kernel.org/. The citations are shortened and
26   mirror the file paths shown in http://android.git.kernel.org/. For example, “dalvik\vm\native\InternalNative.c” maps
     to “[platform/dalvik.git] / vm / native / InternalNative.c” (accessible at
27   http://android.git kernel.org/?p=platform/dalvik.git;a=blob;f=vm/native/InternalNative.c) before modification by
     Google.
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 1          •   libcore\luni-kernel\src\main\java\org\apache\harmony\kernel;
 2          •   libcore\luni-kernel\src\main\java\org\apache\harmony\lang;
 3          •   libcore\nio\src\main\java\java.
 4   Google has created and distributed infringing works written in native code, in addition to Java
 5   code, that derive from Oracle’s copyrighted works. For example, Google makes and distributes
 6   dalvik\vm\native\java_lang_Class.c, which is based on Oracle’s java.lang.Class specification.
 7   Other examples include:
 8              •   dalvik\vm\native\java_lang_Object.c
 9              •   dalvik\vm\native\java_lang_reflect_AccessibleObject.c;
10              •   dalvik\vm\native\java_lang_reflect_Array.c;
11              •   dalvik\vm\native\java_lang_reflect_Constructor.c;
12              •   dalvik\vm\native\java_lang_reflect_Field.c;
13              •   dalvik\vm\native\java_lang_reflect_Method.c;
14              •   dalvik\vm\native\java_lang_reflect_Proxy.c;
15              •   dalvik\vm\native\java_lang_Runtime.c;
16              •   dalvik\vm\native\java_lang_String.c;
17              •   dalvik\vm\native\java_lang_System.c;
18              •   dalvik\vm\native\java_lang_Throwable.c;
19              •   dalvik\vm\native\java_lang_VMClassLoader.c;
20              •   dalvik\vm\native\java_lang_VMThread.c;
21              •   dalvik\vm\native\java_security_AccessController.c;
22              •   dalvik\vm\native\java_util_concurrent_atomic_AtomicLong.c; and
23              •   dalvik\vm\native\sun_misc_Unsafe.c.
24   See also, e.g., source code files in libcore\luni\src\main\native; libcore\luni-
25   kernel\src\main\native.
26   Google’s Android videos directly reference inclusion of Java libraries in Android, e.g.:
27          •   Google Presentation, entitled “Android: Securing a Mobile Platform from the Ground
28              Up,” presented by Rich Cannings (Google’s Android Team) at the Usenix 18th
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 1              Security Symposium (Aug. 12, 2010), available at
 2              http://www.usenix.org/events/sec09/tech/.
 3          •   Google I/O 2010 Video, entitled “A JIT Compiler for Android’s Dalvik VM,”
 4              presented by Ben Cheng and Bill Buzbee (Google’s Android Team), available at
 5              http://developer.android.com/videos/index.html#v=Ls0tM-c4Vfo.
 6          •   Google I/O 2008 Video, entitled “Dalvik Virtual Machine Internals,” presented by
 7              Dan Bornstein (Google Android Project), available at
 8              http://developer.android.com/videos/index.html#v=ptjedOZEXPM.
 9          Moreover, Google admits that Android incorporates a subset of Apache Harmony, which
10   it asserts is “an implementation of Sun’s Java.” (See, e.g., Google’s Amended Counterclaims
11   ¶¶ 6-7, 13.)
12          Google distributes by way of Android and Android-related websites source and object
13   code derived from or substantially similar to Oracle’s source code or to decompiled Oracle object
14   code, including:
15              •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/
16                  AclEntryImpl.java
17              •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/
18                  AclImpl.java
19              •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/
20                  GroupImpl.java
21              •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/
22                  OwnerImpl.java
23              •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/
24                  PermissionImpl.java
25              •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/
26                  PrincipalImpl.java
27              •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/cert
28                  /PolicyNodeImpl.java
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 1              •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/
 2                  AclEnumerator.java (which was obtained by decompiling Oracle’s
 3                  /sun/security/acl/AclEnumerator.class)
 4              •   /dalvik/libcore/luni/src/main/java/java/util/TimSort.java contains code copied from
 5                  Oracle’s java/util/Arrays.java
 6              •   /dalvik/libcore/luni/src/main/java/java/util/ComparableTimSort.java contains code
 7                  copied from Oracle’s java/util/Arrays.java
 8              •   /dalvik/libcore/security/src/test/java/org/apache/harmony/security/tests/java/securit
 9                  y/CodeSourceTest.java contains comments copied from Oracle’s
10                  /java/security/CodeSource.java
11              •   /dalvik/libcore/security/src/test/java/tests/security/cert/CollectionCertStoreParamet
12                  ersTest.java contains comments copied from Oracle’s
13                  /java/security/cert/CollectionCertStoreParameters.java
14              Additional supporting evidence of Google’s copyright infringement can be found at,
15   e.g., GOOGLE-00248372; GOOGLE-00296156-75; GOOGLE-00296453-60; GOOGLE-
16   00296959-61; GOOGLE-00296500-03; GOOGLE-00296507; GOOGLE-00297265; GOOGLE-
17   00297033-38, GOOGLE-00297252-57, GOOGLE-00297361-65 and similar questionnaires
18   signed by other developers; GOOGLE-00296203-07; GOOGLE-00296498-99; GOOGLE-
19   00296523-24; GOOGLE-00296525-26; GOOGLE-00297075-76.
20          Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
21   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
22   responses are based on the information reasonably available at this time and Oracle will
23   supplement this response as appropriate under the Federal Rules of Civil Procedure.
24   INTERROGATORY NO. 3:
25          State in detail Oracle’s factual bases for each element of indirect copyright infringement,
26   specifically including an identification of any direct infringement and a description of the acts of
27   the alleged indirect infringer that contribute to or are inducing that direct infringement.
28
     ORACLE AMERICA’S RESPONSES AND OBJECTIONS TO GOOGLE’S FIRST SET OF INTERROGATORIES                 12
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 1    information regarding the nature of the relationship with these and any of the other inventors of
 2    the patents-in-suit.
 3            Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
 4    and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
 5    responses are based on the information reasonably available at this time and Oracle will
 6    supplement this response as appropriate under the Federal Rules of Civil Procedure.
 7
      Dated: January 6, 2011                       MICHAEL A. JACOBS
 8                                                 MARC DAVID PETERS
                                                   RICHARD S. BALLINGER
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11
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12                                                         ORACLE AMERICA, INC.
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      ORACLE AMERICA’S RESPONSES AND OBJECTIONS TO GOOGLE’S FIRST SET OF INTERROGATORIES                  20
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